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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF VIRGINIA
                                       CHARLOTTESVILLE DIVISION

                                                      )
        KIERAN RAVI BHATTACHARYA,                     )
                                                      )
                          Plaintiff,                  )
                                                      )
        v.                                            )    Civil Action No.: 3:19-CV-00054
                                                      )
        JAMES B. MURRAY, JR., et. al.,                )
                                                      )
                                                      )
                          Defendants.                 )
                                                      )

                       PLAINTIFF’S MOTION TO SEAL EXHIBIT A TO
             PLAINTIFF’S RESPONSE TO MOTION TO QUASH FLEMING SUBPOENA
                   Plaintiff Kieran Ravi Bhattacharya (“Mr. Bhattacharya”), by counsel, respectfully moves

        to seal Exhibit A to Plaintiff’s Response to Motion to Quash Fleming Subpoena (Dkt. #186).

                   Exhibit A is a document produced by Defendants in discovery that consists of an email

        chain among University of Virginia administrative personnel, including Evelyn R. Fleming,

        members of the Threat Assessment Team, and the Associate Dean of Students. The email contains

        private information about Mr. Bhattacharya’s academic and medical history, sensitive information

        from Mr. Bhattacharya’s ex-girlfriend, Angel Hsu, and disciplinary measures explored by UVA.

        When produced to Mr. Bhattacharya, the email was designated by Defendants as highly

        confidential, pursuant to the Stipulated Protective Order entered in this matter. (Dkt #150).

        Alternatives to sealing are not possible here given the nature of the Stipulated Protective Order,

        which by its terms limits access to highly confidential documents to attorneys, attorneys’ clerical

        employees and support staff, experts, witnesses, court personnel, or others only upon two-party

        consent. See Stipulated Protective Order (Dkt #150) at 8-9. Sealing is requested indefinitely, due



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        to the sensitive nature of the contents of Exhibit A and the requirements of the Stipulated Protective

        Order entered by this Court.

        Date: September 10, 2021                          Respectfully submitted,



                                                          KIERAN RAVI BHATTACHARYA

                                                          By:         s/ Michael J. Lockerby
                                                                              Counsel

                                                                Michael J. Lockerby (VSB No. 24003)
                                                                FOLEY & LARDNER LLP
                                                                Washington Harbour
                                                                3000 K Street, N.W., Suite 600
                                                                Washington, D.C. 20007-5109
                                                                Telephone: (202) 672-5300
                                                                Facsimile: (202) 672-5399
                                                                Email: mlockerby@foley.com

                                                          Counsel for Plaintiff, Kieran Ravi Bhattacharya




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